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                    111E/11515/5114 WI


                                             UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF HAWAII

                                                                                                                     FIFTH AMENDED
                  United States of America                                                                            EXHIBIT LIST
                             V.
                     Anthony T Williams                                                                              Case Number: 17-00101 LEK

PRESIDING JUDGE                                                 PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATTORNEY
Leslie E. Kobayashi                                    0        Kenneth Sorenson,Gregg Yates                               Pro Se, LR Isaacson Standby
TRIAL DATE (5)                                                  COURT REPORTER                                             COURTROOM DEPUTY
2/3/2020
 PLF.    DEF.       DATE            MARKED ADMITTED                                                     DESCRIPTION OF EXH BITS* AND WITNESSES
 NO.     NO.       OFFERED
         2001                                                   Mall Wire -Hep Guinn • From Government Disci

         2002                                                   Report of Investigation (R01)- 64.15 from Government Disc I

         2003                                                   Anabel Cabebe 00 Report of Investigation from Government Disc i

         2004                                                   Henry Marmay 01 Report of Investigation from Government Disc 1

         2005                                                   Henry Malinay - Maui Clients • °mails 9/27/13 and 9/28/13 from Govt Disc 1

         2006                                                   Barbara Williams R017-12-16 from Govt Disc 1

         2007                                                   Barbara Williams MEI-CLOA Documents 02_mail_wire -00 Anthony Williams from Govt Disc 1

         2008                                                   Barbara Williams Certified Mail email, Kalena here wr questions, CLOA letterhead email from Disc 1

         2009                                                   ROI- Julita Asuncion • from Govt Discovery Disc 1

         2010                                                    ROI - Virginia Trinidad • from Govt Discovery Disc 1

         2011                                                   ROI - Willie Ramelb•

         2012                                                   ROI • Mariethez Madamba

         2013                                                   ROI -Melvyn Ventura

         2014                                                   ROI - Evelyn 8 Arnold Subia

         2015                                                   Loreen Troxel • ROI - 124-2015

         2016                                                   ROI -Asuncion - ROI • 12-1-2015

         2017                                                   ROI Asuncion 2-16-16

         2018                                                   ROI • Hep Guinn • - 6-3-15

         2019                                                   ROI - Medina Tabuyo

         2020                                                   Megan Crawley - SA FBI Application for Search Warrant from Discovery Disc 2

         2021                                                   15004•Legal documents redacted.pdf p.4-6,47-53 from Discovery Disc 3, CD1 of 2

         2022                                                    15010-Anabel Cabebe Realtor redacted.pcil pt, 19-22, 44-46, 63-68, 70-74, 86-89, 129-130

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           2023
                  United States
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                                           VS.

                             MARKED ADMITTED
                                                              Anthony Williams                   inti901 LEK

                                                                            DESCRIPTION OF EXHIBITS AND WITNESSES

                                               Disc *3 (lot 2) 001. 18010-Lenders Fraud 8 Vlolations.pdf (126 pages)
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           2024                                Disc #3(1 of 2) CD1- 15012-US House of Representalives.pdf Hill 36 pages)

           2025                                  Disc #3(1 of 2) CD1- 113015-Alea House•2015.pdf- R57-62, 114-115, 140-148, 172-174

           2026                                Disc 23 (1 Of 2) CD1, 18015.pdf- 211-229 250-280, 279-291, 307-319, 324-328, 360-361
t
           2027                                [Neon (1 of 2) CD1-18017 -Berm Francisco.pdl- p. 115-120, 132-133, 190-191

           2028                                Disc #3(1 of 2) CO1- 18017- LalorteZa Mary Reymundo.pdf p.11-16, 3247,46-61

           2029                                Disc #3(1 012) C01- 18017 • nojela Ernestpdf p. 16-23, 28-84

           2030                                Disc #3 (1 of 2) 001- 113017 Pillos Oanilo Macrinapdf p.6-13, 26-27

           2031                                Disc #3(1 012) CD1- 18020- Misc Documents.pdf p. 2-6, 25

           2032                                Disc #3(1 of 2) CD1- 18021 Angie • (4 pages)

           2033                                Disc 13(1 of 2) CD1- 18021 • DCCA. p. 3-13, 23-26, 28-50

           2034                                  Disc #3(1 of 2) CD1- 18021- Fled Binder p. 41, 53, 56-60, 62-76, 89-97, 99-103, 109-12

           2035                                Disc #3(1 04 2) COt• 18024- LLC Corporation p.2-9

           2036                                Disc #3(1 of 2) CD1- 18024- Problems -11 pages

           2037                                Disc #3 (1 o( 2) CD1- 18026- Common Law Office Documents - p.2-7, 18-32
                                                                                                                                          1
           2038                                Disc #3(1 of 2) CD1- 1E1028, Pinar Cecillia Rey, p. 31-41, 68•75, 94-96, 148-150

           2039                                Disc #3(1 of 2) CD1- 16028- Sut4a Arnold p. 1•14, 55-87, 7743, 169-174, 198-200

           2040                                Disc #3(1 of 2) 001- 113028 - Trost,' Loreen p. 3-13, 62-63, 68-73, 169.200

           2041                                Disc 43(1 o12) CD1- 18028 - Troxel toreen UCC (13 pages)

           2042                                Disc #3(1 of 2) CD1- 1802$- Ventura Melvyn, p. 3-8, 22-40, 98-100, 103-110

           2043                                Disc #3 (1 0( 2) CD1- 18028. Ventura UCC (3 pages)

           2044                                Disc *3 (1 012) CD1- 18028 • DCCA (18 pages)

           2045                                Disc *3 (1 of 2) CD1-113029 • Durnlao, p. 5-33„ 78-80, 85, 212-221

           2046                                Disc #3(1 of 2) CD1- 18029 Lafortna, p. 213-230, 232-237, 287, 348-380

           2047                                Disc *3 (1 of 2) 001- 1E3029 Laforteza UCC (17 pages)

           2046                                Disc *3 (1 o12) 001- 113029 Mallney (ail 29 pages)

           2049                                Disc #3(1 01 2) 001- 18030 Asuncion (811 16 pages)


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               United States             vs.                Anthony Williams                    its-btigo1 LEI<
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        2050                                 Disc #3(1 of 2) CD1 16029 • Dumlao, p. 5-33.. 78-80, 85, 212-221

        2051                                 Disc #3(1 of 2) CD1 1E1029 Laforteza, p. 213-230 232-237, 287, 346-360

        2052                                 Disc #3(1 of 2) CD1 18029 Laforteza LICC (17 Pages)

        2053                                 Disc #3 (1 of 2) CD1 19029 Malinay (29 pages)

        2054                                 Disc #3(1 of 2) 0D1 113030 Asuncion (16 pages)

        2055                                 Disc #3 (1 01 2) CO1 1B030 Asuncion UCC, p. 73 & 248

        2056                                 Disc #3(1 of 2) CD1 113031 ElOhim (124 pages)

        2057                                 Disc #3(1 of 2) CD1 1e031 Min Documents, p. 39-42, 50, 91-92, 127-149

        2058                                 Disc #3(1 of 2) CD1 18032, MEI mortgage-Palm Beach p. 12-20, 65,78-88, 117-122, 144.149

        2059                                 Disc #3(1 o(2) CD1 113032 Pifority Mad Envelope p. 5-8, 72-130

        2060                                 Disc #3 (2 of 2) CO2 113035 CACE-09-27526 Volume 2 p.50-135

        2061                                 Disc #3(2 of 2) CD2 - CLOA letter to OCP p. 21

        2062                                 Disc 13(2 of 2) CO2 .113035- HIckenbotlom Donna Mae-11-11-2014 p.13148, 101-151

        2063                                 Disc #3(2 of 2) CD2- 16035- Hickenbottom Donna Mae-11-28-2014 p. 134-169,204-225

        2064                                 Disc #3(2 of 2) CD2 • 113035-Misc Documents, p. 48-54, 66-73, 341-346, 355

        2065                                 Disc #3 (2012) CD2 • 113035-Misc Folders p.1-4, 47

       2066                                  Disc #3(2 of 2) CD2 • 15040- Cabebe Anabel p.16-38

       2067                                  Disc #3(2 of 2) CO2 - 113040•Madamba Nelson p.27-32, 61-63, 93-121

       2068                                  Disc #3(2 of 2) CD2 • 113040-Ramirez Esther, p. 1-27, 44-46, 73-76, 146-149

       2069                                  Disc #3 (2 of 2) CD2 • 18040-Ventura p. 116-117, 160-189, 195-199, 205-220,225-235, 242-244

       2070                                  Disc #3 (2 of 2) CD2 - 113041-Chavez Jorge (22 pages)

       2071                                  Disc 03 (2 of 2) CD2- 18041-Ones Elevila p.1545

       2072                                  Disc #3 (2 of 2) CD2 • 113041•Subia Evelyn p.1-3, 22-28

       2073                                  Disc #3 (2 of 2) 0D2 • 1E1041-Vincent Insolada (all 81 pages)

       2074                                  Disc #3 (2012) CD2 • 113043-Business Documents p.4148

       2075                                  Disc #3 (2 of 2) CO2 - 1B045-Anthony- p. 13-19, 53-64

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                  United States                               Anthony Mitchell                    int9O1 LEK
                                          vs.
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           2077                                Disc #3(2 of 2) 002 - 18046- Envelopes, p.47-64, 65-71, 109-11, 215-226

           2078                                Dist #3(2 of 2) 002 • 18046- Priority Mai Envelope. p. 1-7, 95-125, 129-226. 591-594

           2079                                Disc /3 (2 of 2) CO2 - 18047-AIM FLY Protection (10 pages)

           2080                                Disc #3 (2 of 2) 002 - 18047-Hicks John (203 pages)

           2081                                Disc #3(2 of 2) CD2 - 18048-Affidavit p. 2-5

           2082                                Disc *3 (2o12) 002 • 18048-Law Certification Aff davit (13 pages)

           2083                                Disc #3 (2 of 2) CD2 • 113050-AM File 9.1-12

           2084                                Disc #3(2 of 2) CD2 • 1B050-A1W Miss File (17 pages)

           2085                                Disc #3(2 of 2) CD2 - 1E1050-Common Law Office of America (10 pages)

           2086                                Disc #3(2 01 2) 002 - 18050-Elks Club (112 pages)

           2087                                Disc 03 (2 of 2) 002 • 113050-Krakkauer Dean Robbin (33 pages)

           2088                                Disc #3 (2 of 2) CD2 • 18050-Misc Documents (26 pages)

           2089                                DISC 03 (2 of 2) CD2 - 18050-Misc Blue Folder 1 p.3-220
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                                               Disc #3 (2 of 2) CD2 - 113051-Website (7 pages)

           2091
                                               Disc 03 (2 of 2) 002 - 18052-Mortgage Documents p. 123-125

           2092
                                               Disc #3(2 ol 2) CD2 • 18054- Certified man envelopes p.1-34, 77-78. 139.159
           2093
                                               Disc #3(2 of 2) 0D2- 10004-Legal Documents, p.1•24, 163-210, 212413, 238-264. 301492.   -
           2094
                                               Disc #3(2 o12) 002 • 18055-Fedex Box 2, p. 1-20, 21-37. 38444, 45-136
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                                               Oise #3(2 of 2) 002 - 18060-Completed UCC p.6, 13.16, 23-31

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                United States              vs.                Anthony Williams                        at:PP-0010i LEK
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         2104                                   Disc 03, CD 6- 346- part 11 (32 pages)

         2105                                   Disc #3, CD 6- 346- part 15 (20 pages)

         2106                                   Disc #3, COG- 346-part 18(22 pages)

         2107                                   Disc #3, CD 6- 346- part 22 Assn of Mort, Brian Ely, Crystal Moore

        2108
                                                Disc #3, CD 6-346- part 23.2 Trial by Jury p. 57-93

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         2110
                                                Disc #3. CD 6- 346- pan 32 (5 pages)

         2111
                                                Disc #3, CD 6-346-par 33(7 pages)

         2112                                   Disc #3, COG- 346- part 31(11 pages)

         2113
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                                                Disc #4, CD 6- 348- pan 38.2 (32 pages)

        2116
                                                Disc #3, COG- 346- part 38.4(28 pages)
        2117
                                                Disc #3, CD 6- 346- part 384 (35 Pages)

        2118
                                                Disc #3. CO 6- 346- part 39(46 pages)

        2119
                                                Disc #3, CD 6- 346- part 42(52 pages)

        2120
                                                Disc #3, CD 6- 346- part 45 (21 pages)

        2121                                    Item #01 1 Essential Hits Mixed by Pete Tong (Mixed Bundle)
         A
        2121                                    item 002 VT8_01_1
         B
        2121                                    item #03 VT9_01_2
          C
        2121                                    item Doti VT9_01_3
         D
        2121                                    Item #05 Inlewew with Williams 1sl_phone_call
         E
        2121                                    item #06 Anthony Confronts FBI part 3
         F
        2121                                    Item #07 ANTHONY WILLIAMS JAILED • LOSING CIVIL EIGHTS
         G
        2121                                    Item #08 Calls tram Hawaii Federal Prison
         H
        2121                                    Ilem #09 Conspiract to Frame Hero Anthony
          I
        2121                                    Item #10 Hit News Piece Would you lake legal advice
          J


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                 United States          vs.                 Anthony Williams                     CR 17-00101 LEK
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         2121                                  tern #11 Interview with Anthony
          K
         2121                                 Item #12 interview with Retry
          L
         2121                                 Item #13 Sheriff Eviction Standoff
          M
         2121                                 Item 414 Williams has been thrown into the HOLE
          N
         2121                                 Item #15 FBI HAWAII CONSPIRACY 2 of 2, Anthony Williams framed and assaulted
          0
         2122                                 CV for Or. Michael R Brannon

         2123                                 Report of Dr. Michael P. Brannon

         2124                                 CV for Dr. Leonard Horowitz

         2125                                 CV for Mr. Robert Young

         2126                                 11.08.18 Letter from Howard Luke • HSBA • to Rosy Espreclon Thomas

         2127                                 01.08.20 Notice of Dismissal of Anthony Williams v. State of Florida - Case No. S020-18

         2128                                 04.02.19 Letter from City of Honolulu [Socrates &retakes] to Anthony Williams

         2129                                 04.22.19 Letter from USDOJ [Initial Processing UnitAnternal Affairs' to Anthony Williams

         2130                                 09.19.16 Cease and Desist Order ftom the State of CA [Kellen Martz) to Anthony Williams

         2131                                 09.26.18- Handwritten letter from AW to Kellen Math

         2132                                 11.08.18- Handwritten letter from AW to Kellen Martz

         2133                                 Better Business Bureau printout re Common Law Office of America

         2134                                 Civil Rights Complaint - Williams v. State of Hawaii, at al. - Case No. 16-01363

         2135                                 Application for Registration of Trade Name- Mortgage Enterprise Investments

         2136                                 First Amended Amended Complaint • Williams v. State of Hawaii, et al. • 16-03411

         2137                                 FBI Florida Declination of ease

         2138                                 Affidavits

         2139                                 Williams lawsuits

         2140                                 COCA documents

         2141                                 Foreclosure documents

         2142                                 Out of State Witness

         2143                               Customer Refunds-Frank and D


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               United States            vs.                 Anthony Williams                  CR
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        2144                                  Customer Refunds-1

        2145                                  Customer Refunds-2

        2146                                  Customer Refunds

        2147                                  No Exhibit

        2148                                  11.2515 P. Delacourt Ltr. from Ids Ikeda

        2149                                  5.8.18 Melvin Ventura Affidavit

        2150                                  1.18.20- Email chain bt M. Ventura end R. Especial

        2151                                  2.9.20 M. Ventura email - REDACTED

        2162                                  5.13.05 Maiinay Mortgage

        2153                                  5.05.05 Malinay Note

        2154                                  8.1.13 Malinay UCC Statement not adrnitted- already admitted as government exhIbtt 301

        2155                                  1.13.17 Ur from DOJ tO H. Malinay

        2156                                  Screenshol p. 2 only

        2157                                CLOA Eiusomess card for H. Meknay

        2158                                  9.23.14 Investigative Report by Ofrioe of Consumer Protection by C. Watanabe

        2159                                2.25.15 Transcript of Dego of H. Malinay

        2160                                Various p. 9-11, p 23-42

        2161                                Various p. 1-9; 18-19; 20-25; 37-41

        2162                                3.2.151ranscript of Dego of H. Mallnay

        2163                                2.20.11 ASC Ltr to E. Sub's

        2164                                4.18.18 Order Quashing DCCA Subpoena

        2165                                4.25.18 Order Quashing DCCA Subpoena

        2166                                Rosy Espreclon Does

        2167                                Fulton CIA Docket

        2168                                9.13.14 Dismissal of OA case

        2169                                HI Order of Commitment

        2170                                9.2.13 Email from Anthony Williams to Franco. Malinay and Cabebe



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                                                                                                                             Paps
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                                                                                                   CASE NO.
                  United States           vs.                 Anthony Williams                      CR 17-00101 LEK
 PLF    DEF.        DATE     MARKED ADMITTED                                  DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.     NO.       OFFERED
        2171                                    Audio of Williams phone call from prison

        2172                                    Video of Williams using his ID to go through TSA at the airport

        2173                                    Video of Williams using his ID to go through TSA at the airport

        2174                                    Audio of Williams phone cal speaking to a client

        2175                                    Audio of Williams phone call regarding clients

        2176                                    Video of Williams visiting Hawaii Legal documents branch

        2177                                    Video of Williams on his license plate

        2178                                    Video of Williams in the Sheriff's office

        2179                                    Video of Williams filing documents at the Orange County California cleric's office

        2180                                    Video of Williams filing documents In California

        2181                                    Video of Williams in a meeting with an employee of a State office

        2182                                    Letter for North Carolina State Bar Association - cease and desist

         2 18.:                                  Declaration of Britteney Lucas

        2184                                    Bank Records

         2185                                    Motion to Dismiss Superseding Indictment

        2186                                     Waikaloa Highlands Tax Dept. Complaint
                                                    Big Islands Drug Dispute Article
        2187

         2188                                    US v. Malinay - Avelina laurel Declaration

         2189                                      Appeal from the Circuit Court - Green Tree v. Rosy Thomas
                                                   Emergency Motion for Order Prohibiting Sheriffs Dept. from Executing Writ of
         2190
                                                   Ejectment
         2191                                      Immediate Emergency Order to Stay Writ of Ejectment

        2192                                        Def. Response to Plaintiffs First RQA

         2193                                        Amended Motion for Disqualifying of Judge Castagnetti

        2194                                       Def Opp to Def Rosy Thomas Sworn Motion to Dismiss Complaint

        2195                                        Motion for Extension of Time

         2196                                        Motion for Demand for Oath of Affirmation

          219,                                       Motion for Filing of Affidavit

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               uNn ED STATES                 vs.              AN I HUNY WILLIAMS                I it%66901 LEK

 PLF.    DEF          DATE     MARKED ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.     NO          OFFERED
        2198                                     Amended Motion for Objection to Request for Documents2199

        2199                                     — Initial Brief

        2200                                     Appeal from Circuit Court

        2201                                     Case Detail Docket List

          2202
                 r
          2203                                      Extraco Statements 2013-2014

          2204                                       UCC 3-104

         2205                                        UCC 3-415

         2206                                        UCC 3-603

          2207                                        UCC 3-419

         2208                                        UCC 1-104

        2209                                           UCC 10-104

         2210                                       42 USC 401

         2211                                      12 USCA 95(a)(b)

           221                                        15 USC 1692 en )(2)(A)(8)(5)(6)(A)(B)

         2213                                        15 USC 1692f (6)(A)(B)(C)

          2214                                       15 USC 1692g(A)(1)(2)(3)(4)(5)(b)(c)

          2215                                       15 USC 1692k (a)(1)(2)(13)(3)(b)(1)(2)(c)(d)(e)

          2216                                       is USC 1681i (a)(h)(c)(d)

          2217                                       15 USC 1681n (1)(2)(3)

         2218                                       15 USC 16810 (1)(2)

          2219
                                                     15USC1681p
          222                                         18 USC31

         2221                                         28 USC 3002(1 5)(a)

         2222                                         7th Amendment, United States Const.

          2223                                       Hawaii Constitution, Sec. 13

          2224                                     9th Amendment, United States Const.


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        United States                                                                     CASE
                                        vs.          Anthony Williams                            Na17-000101

 PLF.   DEF.     DATE
                          MARKED ADMITTED                               DESCRIPTION OF EXHIBITS AND WITNESSES
 NO     NO.     OFFERED

        2225                                   13th Amendment, United States Const.
         222E                                 Fed Rule Civ Pro 38

        2227                                   Hawaii Rule Civ Pro 38

        2228                                   42 USC 1988

        2229                                   Federal Debt Collections Act

        2230                                   Johnson v. Avery

        2231                                  NAACP v. Button




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                        CERTIFICATE OF SERVICE


  I hereby certify that, a true and correct copy of the foregoing was served
  electronically through CM/ECF on the following at their last known
  addresses on February 24, 2020:

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  A copy of the foregoing will also be mailed/provided to defendant
  Anthony T. Williams at FDC Honolulu.

  DATED: Honolulu, Hawai'i, February 24, 2020



      /s/ Lars Robert Isaacson
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